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EXHIBIT C

 

 

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lN THE CIRCUIT COURT OF THE SEVENTH-IUDIClAL CIRCUIT
OF THE STATE OF FLORIDA, IN AND FOR VOLUSIA COUNTY
CIVIL DIVISION

REGIONS BANK SUCCESSOR BY MERGER
WITH AMSOUTH BANK, `

P]aintiff, ~ '
-Vs- Case No.: 2018 10470 CIDL
Division: 02 `

.ROBERT TH]ES and INA RUTH THIES, if
living, and all unknown parties claiming by,
through, under or against the above named
Defendants who~are not known to be dead or
alive, whether said unknown parties may claim
an interest as spouses, heirs, devisees, grantees,
assignees, lienors, creditors, trustees or other
claimants, claiming by, through, under or against
the said_ROBERT THIES or INA RUTH
TH]ES; DEBARY PLANTATION
COMMUNITY ASSOCIATION, INC., A
FLORIDA v ' NOT FOR PROFIT
CORPORATION; UNKNOWN TENANT # 1;
AND UNKNOWN TENANT # 2

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Defendants. /

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<s<>/"d .
MFINAL JUDGMENT OF FORECLOSURE
THIS ACTION was heard before the Court, On the evidence presented,
IT IS ORDERED AND ADJUDGED that:

l. Plaintiff, REGIONS BANK SUCCESSOR BY MERGER WITH AMSOUTH BANK,
Whose address is 215 FORREST STREET HATTIESBURG, MISSISSIPPI 39401, is due:

Principai _ ' ' l l s248,897.02'

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Interest to date of this judgment $17,621.25
Pre-acceleration Late Charges 33 85 .44
Title search expenses ` 3150.00
Property Valuation $175.00
Property Inspections _ $lS0.00
Property Ta'xes $1,833 .42

Attorneys’ fees`:
Finding as to a reasonable flat fee: $3,450.00

The requested attorney’s fee is a flat rate fee that the tirm’s client has agreed to pay in
this matter. Given the amount of the fee requested and the labor expended, the Court
finds that a lodestar analysis is not necessary and that the flat fee is reasonable

 

Attorneys’ fees total _ $3,450.00
Other Costs:
Filing fee - $2,032.74
Service ofProcess $275.00
T"OTAL' 1 -' ' . $274,969.87

that shall bear interest at the rate of 5.97% a year.

2. Plaintiff holds alien for the total sum superior to all claims or estates of defendant(s), on
the following described property in Volusia_ County, Florida:

LOT 4, `DEBARY PLANTATION, UNIT 16B~2,- ACCORDING TO THE PLAT
THEREOF AS RECORDED IN MAP BOOK 49, PAGE(S)v 15 AND l6, OF THE
PUBLIC RECORDS OF VOLUSLA COUNTY, FLORIDA

Property address: 126 Hickoiy Stick Court
Debary, Florida 327l3

~ 3. _ If the total Sum with interest at the rate described in paragraph l and all"costs accrued
subsequent to this judgment are not paid, the Clerk of the Court shall sell the property at public
sale on l 0 ’&3 , 2018_, to the highest bidder for cash,

except as prescribed in paragraph 41 -`

[X] Byl electronic sale beginning at ll:OO a.m. on the prescribed date at
littp://www.Volusia.realforeclose.com.

 

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4. Plaintiff shall advance all subsequent costs.of this action and post judgment advances
and shall be reimbursed for such costs and post judgment advances by the Clerk if plaintiff is
not the purchaser of the property for sale, provided, however, that the purchaser of the property
for sale shall be responsible for the documentary stamps payable on the Certiticate of Title. If
plaintiff is the purchaser, the Clerk shall credit plaintift"s bid With the total sum with interest,
costs and any post judgment advances made by the plaintiff accruing subsequent to this
judgment, or such part of it as is necessary to pay the bid in full. l '

5. On vfiling the Certiiicate of Title, the Clerk shall distribute the proceeds of the sale, so far
as they are sufficient, by paying: tirst, all of the plaintift’s costs and post judgment advances;
second, documentary stamps affixed to the Certit`icate; third, plaintiff’s attorneys’ fees; fourth, the
total sum due to the plaintiff,- less the items paid, plus interest at the rate»prescribed in paragraph`l
from this date to the date of the sale; and by retaining any remaining amount pending the further
order of this couit.

, 6. n On filing of the Ceititicate of Sale, defendant(s) and all persons claiming under or against
- defendant(s) since the filing of the Notice of Lis Pendens shall be foreclosed of all estate or claim
in the property, except as to claims or rights under Chapter 718 or Chapter 720, Florida Statues, if '
any. Upon the filing of the Cer`titicate of Title, the person named on the Certiticate of Title shall

. be let into possession of the property. ~

7. The Court retains jurisdiction of this action to enter further orders that are proper,
including, without Iimitation, orders and judgments on supplemental complaints to re-
foreclose to add omitted parties or remedy any other defects in the foreclosure proceedings,
orders determining the amount of assessments or other charges owed to any condominium
or homeowners association, writs of possession, and deficiency judgments as to any
defendants who have not been discharged in bankruptcy.

' IF THIS PROPERTY_ IS SOLD AT PUBLIC AUCTION, THERE MAY BE ADDITIONAL MONEY
- FROM THE SALE AFTER PAYMENT OF PERSONS WHO ARE ENTITLED TO BE PAID FROM
THE SALE PROCEEDS PURSUANT TO THE FINAL JUDGMENT.

IF YoU ARE A sUBoRDiNATE LiENHoLDER cLAn\hNG A RIGHT To FUNDs REMAINING
AFTER THE sALE, YoU MUsT rita A cLAn\/i WITH ran CLERK No LATER 'rHAN sixTY (60)
DAYS AFTER ran sALE. rF YoU FAIL To FILE A CLAu\/i, YoU WILL NoT BE ENTITLED To
ANY REMAiNiNG FUND_s. '

IF YOU ARE THE PROPERTY OWNER, YOU MAY CLAIM THESE FUNDS YOURSELF. YOU
ARE NOT REQUIRED TO HAVE A LAWYER OR ANY OTHER REPRESENTATION AND YOU
DO NOT HAVE TO ASSIGN YOUR RIGHTS TO ANYONE ELSE IN ORDER FOR YOU TO CLAIM
ANY MONEY TO ’WHICH YOU ARE ENTITLED. PLEASE CHECK WITH THE CLERK OF THE
COURT, VOLUSIA COUNTY CIRCUIT COURT 101 NORTH ALABAMA AVENUE DELAND,
FLORIDA 32724 WITHIN (10`) DAYS AFTER THE SALE TO ~SEE IF THERE IS ADDITIONAL

 

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MONEY FROM _THE FORECLOSURE SALE THAT THE CLERK HAS IN THE REGISTRY OF THE
COURT. 4. ,

IF YOU DECIDE TO SELL Y_OUR HOME OR HIRE SOMEONE TO HELP YOU CLAIM THE
ADDITIONAL MONEY, YOU SHOULD READ VERY CAREFULLY ALL PAPERS YOU ARE'
>REQUIRED TO SIGN, ASK SOMEONE ELSE, PREFER_ABLY AN ATTORNEY WHO 13 NOT
RELATED TO THE PERSON OFFERlNG_ TO HELP YOU, TO MAKE SURE THAT YOU
UNDERSTAND WHAT YOU ARE SIGNING AND THAT YOU ARE NOT TRANSFERRING YOUR
PROPERTY OR THE EQUITY lN YOUR PROPERTY WITHOUT THE PROPER INP`ORMATION.
IF YOU CANNOT AFFORD TO PAY AN A_TTORNEY, YOU MAY CONTACT LEGAL AID
ADMINISTRATION 219 NORTH VGLUSIA AVENUE ORANGE CITY, FLORIDA 32763 (386)-917-
1022 TO SEE IF 'YOU QUALIFY FINANCIALLY FOR THEIR SERVICES. IF THEY CANNOT
ASSIST YOU, THEY MAY BE ABLE TO REFER YOU TO A LOCAL BAR REFERRAL AGENCY
OR SUGGEST OTHER OPTIONS. 112 YOU CPIOOSE TO CONTACT LEG-AL AID
ADl\/HNISTRATION 219 NORTH VOLUSIA AVENUE ORANGE CITY, FLORLDA 32763 (386)~917-
1022 FOR _ASSISTANCE, YOU' SHOULD DC SG AS SOON.AS POSSIBLE AFTER RECEIPT OF

THIS NOTICE.

DONE AND' ORDERED in Chambers at DeLand, Volusia County, Florida

Quectsv" `lLi, lots

 
 
  

{Signature}

Copies to:
Rod B. Neuman, Esquire

Robert Thies
126 Hickory Stick Court
Debary, Florida_32713

Ina Ruth Thies
126 Hickory Stick Court
Debary, Florida 32713

Debary Plantation Community Association, Inc.
c/o David Y. Klein, Esquire

5550 Glades Road, Suite 500 »

B.oca Raton, Florida 33431

